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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


ALLIANCE FOR RETIRED
AMERICANS, et al.,

                         Plaintiffs,
                                                      Case No. 1:25-cv-00313-CKK
               v.

SCOTT BESSENT, in his official capacity
as Secretary of the Treasury, et al.,

                         Defendants.


                                       CONSENT MOTION

       By mutual agreement, the parties respectfully ask the Court to enter the proposed order

attached as Exhibit 1 to this Consent Motion.

Dated: February 5, 2025                   Respectfully submitted,

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